Case 8:19-bk-10832-CED Doc 159-1

a3) Bank
aes

America’s Most Convenient Bank®

MONUMENT BREWING LLC
DIP CASE 19-10832 MFLT
5469 US HWY 41N
APOLLO BEACH FL 33572

Chapter 11 Checking

MONUMENT BREWING LLC
DIP CASE 19-10832 MFLT

Filed 12/08/20 Page 1 of 14

STATEMENT OF ACCOUNT

Page: 1 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***

Primary Account #: 437-4582455

Account # 437-4582455

 

 

ACCOUNT SUMMARY

Beginning Balance 1,582.86 Average Collected Balance 2,601.82

Deposits 15,350.83 Interest Earned This Period 0.00

Electronic Deposits 33,321.57 Interest Paid Year-to-Date 0.00

Other Credits 8,562.95 Annual Percentage Yield Earned 0.00%
Days in Period 31

Checks Paid 28,250.30

Electronic Payments 26,687.72

Other Withdrawals 35.00

Ending Balance 3,845.19

 

 

 

 

 

 

 

 

 

 

 

Total for this Period Total Year-to-Date
Total Overdraft Fees $0.00 $0.00)
Total Returned Item Fees (NSF) $35.00 $35.00)

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION JMOUN
10/06 SBB MDEPOSIT 5,000.00
10/13 SBB MDEPOSIT 5,000.00
10/14 SBB MDEPOSIT 4,000.00
10/14 SBB MDEPOSIT 1,350.83

Subtotal: 15,350.83
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
10/01 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 359.88
10/02 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 620.62
10/02 CCD DEPOSIT, CITIZENS NET SETLMT ****032891 150 309.55
10/02 CCD DEPOSIT, GRPN MERCH SVCS N300053473 C****53473P349 249.27
10/05 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 1,655.41
10/05 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 1,615.53
10/05 CCD DEPOSIT, CITIZENS NET SETLMT ****032891150 1,034.50
10/05 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 973.39
10/05 CCD DEPOSIT, CITIZENS NET SETLMT ****032891150 260.47
10/05 CCD DEPOSIT, GRPN MERCH SVCS N300053503 C****53503P1427 166.20
10/05 CCD DEPOSIT, CITIZENS NET SETLMT ****032891150 56.79
10/06 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 841.09

 

 

 

 

Hank Deposits FDIC lisured | TD Bank, NA. | Equal Housing Lender te
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 2 of 14

 

Begin by adjusting your account register
as follows:

statement is:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account.

List below the total amount of
withdrawals that do not appear on

Add any automatic deposit or
overdraft line of credit.

 

Your ending balance shown on this

; Subtotal by adding lines I and 2.

Page: 2 of 13
Ending 3,845.19
Balance

List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

 

Total
Deposits

+

 

Sub Total

this statement. Total the withdrawals

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

  

and enter on Line 4. ®

Total -
Withdrawals

* Subtract Line 4 from 3. This adjusted
balance should equal your account

7

{

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

ending account balance. balance, “ Adjusted
Boas
ey
bd
DEPOSITS NOT DOLLARS CENTS WITHDRAWALS NOT GOLLARS CENTS WITHDRAWALS NOT DOLLARS CENTS
ON STATEMENT ON STATEMENT ON STATEMENT
t
- Total
Total Deposits a Withdrawals ey
a
SUMER ACCOUNTS ONLY — I CASE OF FOR CONSUIER LOAM ACCOUNTS ONLY — BILLING RIGHTS
S0UT YOUR & STRONIC FUNDS TR SUMMARY

      

If you need information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund transfer,
telephone the bank immediately at the phone number listed on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared. When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more information is needed. Please include:

* ‘Your name and account number.

* A.description of the error or transaction you are unsure about.

* The dollar amount and date of the suspected error.
When making a verbal inquiry, [he Bank may ask that you send us your complaint in
writing within ten (10) business days after the first telephone call.
We will investigale your complaint and will correct any error promptly. If we lake more
than ten (10) business days to do this, we will credit your account for the
amount you think is in error, so that you have the use of the money during the time it
takes to complete our investigation.

INTEREST NOTICE
Total interest credited by the Bank to you this year will be reported by the Bank to the

Internal Revenue Service and State tax authorities. The amount to be reported will be
reported separately to you by the Bank.

  

In case of Errors or Questions About Your Bill:

lf you think your bill is wrong, or if you need more information about a transaction on
your bill, write us at P.O, Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear from you no later than sixty (60) days after we sent you the
FIRST bill on which the error or problem appeared, You can telephone us, but doing
so will not preserve your rights. In your letter, give us the following information:

+ Your name and account number.

* The dollar amount of the suspected error.

« Describe the error and explain, if you can, why you believe there is an error.

If you need more information, describe the item you are unsure about.

You do net have to pay any amount in question while we are investigating, but you
are still obligated to pay the parts of your bill that are not in question. While we
investigate your question, we cannot report you as delinquent or take any action to
collect the amount you question.

FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
the finance charge on your Moneyline/Overdraft Protectian account (ihe term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic statement as an easier method for you to calculate the finance
charge. The finance charge begins to accrue on the date advances and other debits
are posted to your account and will continue until the balance has been paid in full.
To compute the finance charge, multiply the Average Daily Balance times the Days in
Period times the Daily Periodic Rate (as listed in the Account Summary section on
the front of the statement), The Average Daily Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days in the Billing Cycle. The daily balance is the balance for the day after
advances have been added and payments or credits have been subtracted plus or
Minus any other adjustments that might have occurred that day. There is no grace
period during which no finance charge accrues. Finance charge adjustments are
included in your total finance charge,
 

}

i/o) Bank

Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 3 of 14

al o =
America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

DIP CASE 19-10832 MFLT Page: 3 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455

 

DAILY Ace

IUNT ACTIVITY

 

Electronic Deposits (continued)

POSTING DATE DESCRIPTION

10/06
10/07
10/08
10/09
10/09
10/13
10/13
10/13
10/13
10/13
10/13
10/13
10/13
10/14
10/15
10/16
10/16
10/19
10/19
10/19
10/19
10/19
10/19
10/19
10/20
10/20
10/21
10/22
10/23
10/23
10/26
10/26
10/26
10/26
10/26
10/26
10/27
10/27
10/28

rN .a27_9nnY

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 qt
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 1
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ***"032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 1
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 4
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, GRPN MERCH SVCS N300053735 C****53735P1376

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

CCD DEPOSIT, CITIZENS NET SETLMT ****032891 150

CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 1
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 1
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 1

CCD DEPOSIT, CITIZENS NET SETLMT ****032891150
CCD DEPOSIT, CITIZENS NET SETLMT ****032891150
CCD DEPOSIT, CITIZENS NET SETLMT ****032891150
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302
CCD DEPOSIT, CITIZENS NET SETLMT ****032891150
CCD DEPOSIT, CITIZENS NET SETLMT ****033795302

VY PAL

AMOUNT

316.02

25.58
180.98
524.48
330.82

902.85
403.15

959.85
558.01
528.99
415.32
249.55

68.28
153.84
147.62
892.48
580.89

193.39
007.94

749.79
666.50
303.19
228.58
156.58
673.41
337.62

82.56
364.28
401.54
305.88

439.86
171.49
121.32

553.42
324.68
42.32
702.83
232.36
57.96

 

Buk Deposits FOIC Insured | TD Bank, NA. | Equal Nausing Lender (Sy
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 4 of 14

! wa)
j/p) Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

DIP CASE 19-10832 MFLT Page: 4 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455

 

DAILY ACCOUNT ACTIVITY

Electronic Deposits (continued)

 

 

 

POSTING DATE DESCRIPTION AMOUNT
10/29 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 404.00
10/30 CCD DEPOSIT, CAVALIER SPIRITS ACH ITEMS 2,493.84
10/30 CCD DEPOSIT, CITIZENS NET SETLMT ****033795302 511.60
10/30 CCD DEPOSIT, CITIZENS NET SETLMT ****032891150 413.22
Subtotal: 33,321.57
Other Credits
POSTING DATE DESCRIPTION AMOUNT
10/15 RETURNED ITEM 8,562.95
Subtotal: 8,562.95
Checks Paid No, Checks: 38 “Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE SERIAL NO. AMOUNT DATE SERIAL NO. AMOUNT
10/05 1404 249.00 10/13 1567 198.62
10/05 1405 100.00 10/13 1568 1,466.88
10/07 1406 150.00 10/14 1569 301.62
10/14 1407 100.00 10/19 1571* 141.12
10/19 1408 58.10 10/16 1572 300.00
10/29 1410* 104.79 10/19 1573 17.56
10/30 1411 282.30 10/21 1574 96.45
10/15 1549* 49.75 10/23 1575 150.00
10/06 1556* 100.80 10/26 1576 1,466.89
10/07 1557 17.56 10/26 1577 122.72
10/05 1558 125.00 10/26 1579* 150.62
10/05 1559 400.00 10/28 1580 253.62
10/07 1560 246.66 10/14 1627* 8,562.95
10/07 1561 409.62 10/16 1627* 8,562.95
10/13 1562 372.42 10/14 1628 1,000.00
10/20 1563 31.14 10/26 1629 74.29
10/13 1564 416.85 10/26 1630 434.41
10/13 1565 270.89 10/26 1631 247.60
10/13 1566 678.05 10/27 1632 539.07
Subtotal: 28,250.30

 

Gank Bepasits FDIC Insured | TO Gank, Ha. | Equal ousiig Lender fey
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 5 of 14

1D Bank

j =
America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

DIP CASE 19-10832 MFLT Page: 5 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-"**
Primary Account #: 437-4582455

 

DAILY ACCOUN

ernie
CLaivad ¥

 

Electronic Payments

POSTING DATE

10/01
10/04
10/01
10/01

10/02
10/02

10/02
10/02
10/02
10/05
10/05
10/05
10/05
10/05
10/05
10/05
10/05
10/05
10/05

10/06
10/06
10/06

10/06

DESCRIPTION

INTL DEBIT CARD PUR, *****04024610192, AUT 092920 INTL DDA PUR
PAYONEER 800 251 2521 GIB

DEBIT CARD PAYMENT, *****04024610192, AUT 093020 VISA DDA PUR
UNTAPPD INC BUSINESS UNTA * NC

DEBIT CARD PAYMENT, ****"04024610192, AUT 093020 VISA DDA PUR
UNTAPPD INC BUSINESS UNTA * NC

DEBIT CARD PURCHASE, *****04024610192, AUT 092920 VISA DDA PUR
TACO BELL 036138 RUSKIN * FL

ELECTRONIC PMT-WEB, SQUARE INC SQ-PAIDSVC T****90385065

DEBIT CARD PAYMENT, *****04024610192, AUT 093020 VISA DDA PUR
ADOBE CREATIVE CLOUD 408 536 6000 * CA

DEBIT CARD PURCHASE, *****04024610192, AUT 100120 VISA DDA PUR
TEXAS ROADHOUSE ECO 2596 RIVERVIEW * FL

DEBIT CARD PURCHASE, *****04024610192, AUT 093020 VISA DDA PUR
CITGO SPEEDY SELECT RIVERVIEW *FL

DEBIT CARD PAYMENT, *****04024610192, AUT 100120 VISA DDA PUR
MICROSOFT MICROSOFT 365 MSBILLINFO *WA

DEBIT CARD PURCHASE, *****04024610192, AUT 100220 VISA DDA PUR
DTV DIRECTV SERVICE 800 347 3288 *CA

DEBIT CARD PURCHASE, *****04024610192, AUT 100420 VISA DDA PUR
FACEBK PPZVMVAZ52 650 5434800 *CA

DEBIT CARD PURCHASE, *****04024610192, AUT 100220 VISA DDA PUR
HELGET GAS PRODUCTS INC 402 339 1063 * NE

DEBIT CARD PAYMENT, *****04024610192, AUT 100220 VISA DDA PUR
ACT TAMPA METRO YMCA 813 2249622 * FL

DEBIT CARD PAYMENT, *****04024610192, AUT 100420 VISA DDA PUR
INT QUICKBOOKS ONLINE 800446 8848 *CA

DEBIT CARD PAYMENT, *****04024610192, AUT 100120 VISA DDA PUR
ADOBE STOCK 408 536 6000 *CA

DEBIT CARD PURCHASE, *****04024610192, AUT 100220 VISA DDA PUR
AMAZON WEB SERVICES AWS AMAZON CO * WA

DEBIT CARD PURCHASE, RI ee” AUT 100220 VISA DDA PUR
MCDONALD S$ F5695 RUSKIN *

DEBIT CARD PURCHASE, aogyaaReds AUT 100320 VISA DDA PUR
GOOGLE YOUTUBE VIDEOS GCOHELPPAY *CA

DEBIT CARD PURCHASE, *****04024610192, AUT 100320 VISA DDA PUR
AMAZON WEB SERVICES AWS AMAZON CO * WA

CCD DEBIT, QUARTERLY FEE PAYMENT 0000
ELECTRONIC PMT-WEB, TECO/PEOPLE GAS UTILITYBIL ****02597741

DEBIT CARD PURCHASE, *****04024610192, AUT 100520 VISA DDA PUR
NORTHSIDE PROPANE 813 949 4286 * FL

DEBIT CARD PURCHASE, *****04024610192, AUT 100520 VISA DDA PUR
DD BR 352159 Q35 RUSKIN *FL

4 Pa iF 4_DH ~APrifpec yroe ne
fé ( 4a ian z GIiVICCsS a4 EC

61.80

49.99
49.00
3.99

54.00
52.99

46.68
20.06
9.99
381.81
125.00
111.65
85.00
40.00
29,99
10.86
9.42
2.99
0.14

975.00
914.26
240.54

7.57

 

Bank Deposits FOIG Insured | TD Bank, WAL | Equat Housing Leader (Sy
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 6 of 14

(5) Bank

il .
America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

DIP CASE 19-10832 MFLT Page: 5 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455

 

DAILY ACCOUNT ACTIVITY

e

 

Electronic Payments (continued)

AOSTING DATE DESCRIPTION AMOUNT

10/06 DEBIT CARD PURCHASE, *****04024610192, AUT 100520 VISA DDA PUR 5.63
PANDORA INTERNET RADIO PDORACOMBIL* CA

10/07 ELECTRONIC PMT-WEB, HSWASSOCIATES-BA WEB PMTS HCD6K6 6,183.57

10/07 DEBIT CARD PURCHASE, *****04024610192, AUT 100520 VISA DDA PUR 204.41
WHITELABS INC 858 6933441 *CA

10/07 DEBIT CARD PURCHASE, *****04024610192, AUT 100620 VISA DDA PUR 107.42
NTN BUZZTIME INC 760 9303067 *CA

10/07 DEBIT CARD PAYMENT, *****04024610192, AUT 100520 VISA DDA PUR 14.99
BLIZZARD ENTERTAINMENT 19499551380 *CA

10/07 DEBIT CARD PURCHASE, *****04024610192, AUT 100520 VISA DDA PUR 14.95
THE HOME DEPOT 6951 RUSKIN *FL

10/07 DEBIT CARD PURCHASE, *****04024610192, AUT 100720 VISA DDA PUR 6.05
FACEBK N6D4YUEZ52 650 5434800 *CA

10/08 TD ATM DEBIT, *****04024610192, AUT 100720 DDA WITHDRAW 400.00
6176 US HWY 41 NORTH APOLLO BEACH * FL

10/08 DEBIT CARD PAYMENT, *****04024610192, AUT 100720 VISA DDA PUR 221.00
MICROS OF CENTRAL FL LONGWOOD *FL

10/08 DEBIT CARD PAYMENT, *****04024610192, Aut 100720 VISA DDA PUR 215.00
MICROS OF CENTRAL FL LONGWOOD *

10/08 ELECTRONIC PMT-WEB, COMENITY PAY CP WEE PYMT P****1412754707 82.00

10/09 ELECTRONIC PMT-WEB, TECO/PEOPLE GAS UTILITYBIL ****07489844 2,000.00

10/09 ELECTRONIC PMT-WEB, TECO/PEOPLE GAS UTILITYBIL ****02308494 1,000.00

10/09 DEBIT CARD PURCHASE, *****04024610192, AUT 100820 VISA DDA PUR 96.55
AMAZON COM MK9X92DU1 AMZ AMZN COM BILL * WA

10/09 ELECTRONIC PMT-WEB, GUARDIAN PRO 800PROTECT ****01239422123 54.20

10/09 DEBIT CARD PURCHASE, *****04024610192, AUT 100820 VISA DDA PUR 46.68
TEXAS ROADHOUSE ECO 2596 RIVERVIEW *FL

10/13 CCD DEBIT, IRS USATAXPYMT ****68774004 194 777.80

10/13 ACH DEBIT, SAMS CLUB PAYMENT ****33120319586 182.00

10/13 DEBIT CARD PURCHASE, *****04024610192, AUT 100820 VISA DDA PUR 161.72
THE WEBSTAURANT STORE = 717 392 7472 * PA

10/13 ACH DEBIT, LOWES PAYMENT ****92610890019 127.00

10/13 DEBIT CARD PURCHASE, *****04024610192, AUT 100920 VISA DDA PUR 84.63
THE UPS STORE 5327 APOLLO BEACH * FL

10/13 DEBIT CARD PURCHASE, *****04024610192, AUT 101020 VISA DDA PUR 29.35
AMAZON COM MK1A50SE2 AMZN COM BILL * WA

10/13 ACH DEBIT, SQUARE INC PAYR TAX T****95014736 17.89

10/13 DEBIT CARD PAYMENT, *****04024610192, AUT 101120 VISA DDA PUR 15.06
SXM SIRIUSXMCOMACCT 888635 5144 * NY

10/13 DEBIT CARD PAYMENT, *****04024610192, ak 101120 VISA DDA PUR 9.99
HELLO HELLOFAX HTTPSWWW HELL * C

10/14 DEBIT CARD PURCHASE, *****04024610192, AUT 101320 VISA DDA PUR 204.41
WHITELABS INC 858 6933441 *CA

 

Hank Deposits FOIC Insured | TO Gank, NA. ] Equal Housing Lender (£3
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 7 of 14

ae
1/0) Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

DIP CASE 19-10832 MFLT Page: ; 7 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455

 

DAILY ACCOUNT ACTIVITY

 

Electronic Payments (continued)

POSTING DATE DESCRIPTION AMOUNT

10/14 TD ATM DEBIT, *****04024610192, AUT 101420 DDA WITHDRAW 200.00
6176 US HWY 41 NORTH APOLLO BEACH * FL

10/15 DEBIT CARD PURCHASE, *****04024610192, AUT 101420 VISA DDA PUR 165.00
GEICO MARINE INSURANCE C 703 823 9550 *VA

10/15 DEBIT CARD PURCHASE, *****04024610192, AUT 101420 VISA DDA PUR 162.00
GEICO MARINE INSURANCE C 703 823 9550 *VA

10/15 DEBIT CARD PAYMENT, *****04024610192, AUT 101320 VISA DDA PUR 25.92
FEDEX 529912572 MEMPHIS * TN

10/16 CCD DEBIT, EMPLOYERS PREFER 8886826671 2LYKQF2AEJ4KSIB 479.56

10/16 CCD DEBIT, CAPITAL ONE ONLINE PMT ****33910004718 225.00

10/16 CCD DEBIT, CAPITAL ONE ONLINE PMT ****33910004719 179.00

10/16 DEBIT CARD PURCHASE, *****04024610192, AUT 101520 VISA DDA PUR 45.55
PUBLIX 1260 APOLLO BEACH * FL

10/19 ELECTRONIC PMT-WEB, FRONTIER ONLINE E-BILL ****93033 515.92

10/19 DEBIT CARD PURCHASE, *****04024610192, AUT 101620 VISA DDA PUR 348.22
TMOBILE POSTPAID PDA 800 937 8997 * WA

10/19 DEBIT CARD PURCHASE, *****04024610192, AUT 101720 VISA DDA PUR 225,28
XPRESSXSRU941 684 1628 8777551166 * FL

10/19 TD ATM DEBIT, *****04024610192, AUT 101820 DDA WITHDRAW 200.00
6176 US HWY 41 NORTH APOLLO BEACH * FL

10/19 TD ATM DEBIT, *****04024610192, AUT 101820 DDA WITHDRAW 200.00
6176 US HWY 41 NORTH APOLLO BEACH * FL

10/19 DEBIT CARD PURCHASE, *****04024610192, AUT 101820 VISA DDA PUR 98.73
GOOGLE ADS9995122409 INTERNET “CA

10/19 DEBIT CARD PURCHASE, *****04024610192, a 101620 VISA DDA PUR 70.18
TEXAS ROADHOUSE ECO 2596 RIVERVIEW *

10/20 DEBIT CARD PURCHASE, *****04024610192, AUT. 101920 VISA DDA PUR 240.55
NORTHSIDE PROPANE 813 949 4286 * FL

10/20 DEBIT CARD PURCHASE, *****04024610192, AUT 101920 VISA DDA PUR 14.65
AMAZON COM 2T83B5TDO AMZ AMZN COM BILL * WA

10/20 DEBIT CARD PAYMENT, *****04024610192, AUT 101920 VISA DDA PUR 11.99
DROPBOX YH3ZSRTV1XPQ DROPBOX COM *CA

10/21 CCD DEBIT, IPFS877-513-9487 IPFSPMTGAA 990064 773.49

10/21 CCD DEBIT, IPFS877-513-9487 IPFSPMTGAA A43533 539.50

10/21 DEBIT CARD PAYMENT, *****04024610192, AUT 102020 VISA DDA PUR 273.06
TMOBILE AUTO PAY 800 937 8997 *\WA

10/21 DEBIT CARD PURCHASE, *****04024610192, AUT 102020 VISA DDA PUR 107.42
NTN BUZZTIME INC 760 9303067 *CA

10/21 DEBIT CARD PURCHASE, *****04024610192, AUT 101920 VISA DDA PUR 107.17
WHITELABS INC 858 6933441 *CA

10/21 DEBIT CARD PURCHASE, *****04024610192, AUT 101920 VISA DDA PUR 105.96
THE HOME DEPOT 6951 RUSKIN *FL

10/21 DEBIT CARD PURCHASE, *****04024610192, AUT 101920 VISA DDA PUR 94,39

THE WEBSTAURANT STORE = 717 392 7472 * PA

=f} ww f=7 UU =

Bank Deposiis FOIC Insured | 1D Bank, oA. | Equal Housing bender (t=)
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 8 of 14

— i
[ [By Bank
— ~ America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

 

DIP CASE 19-10832 MFLT Page: 8 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455
DAILY ACCOUNT ACTIVITY

 

Electronic Payments (continued)
POSTING DATE DESCRIPTION AMOUNT

10/22 TD ATM DEBIT, *****04024610192, AUT 102120 DDA WITHDRAW 300.00
6176 US HWY 41 NORTH APOLLO BEACH * FL

10/22 DEBIT CARD PURCHASE, *****04024610192, AUT 102120 VISA DDA PUR 295.58
CROWLER 303 827 3300 * CO

10/22 DEBIT CARD PURCHASE, *****04024610192, AUT 102120 VISA DDA PUR 149.49
THE WEBSTAURANT STORE = 717 392 7472 * PA

10/22 DEBIT CARD PURCHASE, *****04024610192, AUT 102020 VISA DDA PUR 107.17
WHITELABS INC 858 6933441 *CA

10/22 DEBIT CARD PURCHASE, *****04024610192, AUT 102120 VISA DDA PUR 34.99
MAILCHIMP MONTHLY MAILCHIMP COM * GA

10/22 DEBIT CARD PURCHASE, *****04024610192, AUT 102120 VISA DDA PUR 13.00
AMAZON COM 2TOP45VX0 AMZN COM BILL * WA

10/23 TD ATM DEBIT, *****04024610192, AUT 102320 DDA WITHDRAW 400.00
6176 US HWY 41 NORTH APOLLO BEACH * FL

10/23 INTL DEBIT CARD PMT, *****04024610192, pet 102320 INTL DDA PUR 15.00
FASTMAIL PTY LTD MELBOURNE AU

10/26 CCD DEBIT, IRS USATAXPYMT anrppaoda7 td 744.00

10/26 ELECTRONIC PMT-TEL, DIRECTV DIRECTV 0466542 384.44

10/26 CCD DEBIT, CAPITAL ONE ONLINE PMT ****33910000073 220.00

10/26 CCD DEBIT, CAPITAL ONE ONLINE PMT ****39910002950 65.00

10/26 DEBIT CARD PURCHASE, *****04024610192, AUT 102320 VISA DDA PUR 53.98
WAL MART 5300 GIBSONTON *FL

10/26 ACH DEBIT, SQUARE INC PAYR TAX T****00872521 18.96

10/26 DEBIT CARD PURCHASE, *****04024610192, AUT 102520 VISA DDA PUR 14.95
AUDIBLE 2T04922X0 AMZN COM BILL * NJ

10/27 ELECTRONIC PMT-WEB, ALLY ALLY PAYMT ****610731/001 550.00

10/27 ELECTRONIC PMT-WEB, TECO/PEOPLE GAS UTILITYBIL ****02308494 351.83

10/27 ELECTRONIC PMT-WEB, TECO/PEOPLE GAS UTILITYBIL ****07489844 337.34

10/27 ELECTRONIC PMT-WEB, TECO/PEOPLE GAS UTILITYBIL ****02598004 242.07

10/28 ELECTRONIC PMT-WEB, HSWASSOCIATES-BA WEB PMTS 8KSLL6 471.76

10/28 DEBIT CARD PURCHASE, *****04024610192, AUT 102720 VISA DDA PUR 107.42
NTN BUZZTIME INC 760 9303067 *CA

10/28 DEBIT CARD PURCHASE, *****04024610192, AUT 102220 VISA DDA PUR 107.17
WHITELABS INC 858 6933441 *CA

10/28 DEBIT CARD PURCHASE, *****04024610192, AUT 102720 VISA DDA PUR 50.00
FLORIDA SHERIFFS ASSOCIA 850 8772165 *FL

10/29 TD ATM DEBIT, *****04024610192, AUT 102820 DDA WITHDRAW 400.00
6176 US HWY 41 NORTH APOLLO BEACH * FL

10/30 TD ATM DEBIT, *****04024610192, AUT 103020 DDA WITHDRAW 300.00

6176 US HWY 41 NORTH APOLLO BEACH * FL
Subtotal: 26,687.72

190-937-2000 for 2?4-ho Rank-hyv-Phone
"FM ‘ be ab4/ REE PAE SEN SS b RENAE

 

Hank Deposits FDIC Insured | TD Bank, iA. | Equal Housing Lender f=]
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 9 of 14

TD Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

DIP CASE 19-10832 MFLT Page: Botts
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-"**
Primary Account #: 437-4582455

 

DAILY AGCOUNT ACTIVITY
Other Withdrawals

 

 

 

POSTING DATE DESCRIPTION AMOUNT
10/15 OVERDRAFT RET 35.00
Subtotal: 35.00
IAILY BALANCE SUMMARY
DATIE BALANCE DATE BALANG
09/30 1,582.86 10/16 1,736.37
10/01 1,777.96 10/19 4,167.23
10/02 2,773.68 10/20 4,879.93
10/05 6,865.11 10/21 2,865.05
10/06 10,778.42 10/22 2,329.10
10/07 3,448.77 10/23 2,471.52
10/08 2,711.75 10/26 3,126.75
10/09 369.62 10/27 2,041.63
10/13 6,646.47 10/28 1,109.62
10/14 1,782.16 10/29 1,008.83
10/15 10,055.06 10/30 3,845.19

Hank Deposits FOIC Insured | 1% Bank WA. | Equal Housing Lender (S]
 

Case 8:19-bk-10832-CED

~ America’s Most Convenient Bank®

Doc 159-1

Filed 12/08/20 Page 10 of 14

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STATEMENT OF ACCOUNT
MONUMENT BREWING LLC
DIP CASE 19-10832 MFLT Page: ; 10 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455
_ 1404 1405
Four Sergey eme eo ‘our Gtac i
Dy ERE pare, ‘Oo a ane . eee ae con [F. 2f ete
hor Sarat Glirecs Sts Gi Bhs. (7sqve_, Dll 18] Joy =| |
i) sank . 1 an (ind os: DOLLARS: 8
nade | a a
= EN Ee ROTATOR ESS | POOUOSF WOR ?OLLB 22 APL Sh eR Soe _. |
tT jae |, | ~ 4407
1 Four nek Brean Gapppary i Four Stacks By ss wing a.gareary
ay Ageia Raich, FLITE hare /o. /Z, fs ian ‘Reem Bhech, a7 int /9, (itd Bloc
$50 ea t
8

 

 

iD Bank

Q We ey Z Z 4, : ,

 

 

Hikes a i
fay ont

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FOR, 4,
PDOLLOSY HOB7OIRB 220 G37Q5a245 50 | KOOILOF# NOG7OAKB E22 437458 26556 _|
#1406 10/07 $150.00 #1407 10/14 $100.00
= _
1405
Pobr Qingke Brawing Company | Four Stacks Brewing Campany ao |
Apaia Basch, FL 335T2 ws he — ph Reece sone try seunm
Suthers Zid Liki 1s! s gate Br CO eae ag ™ 1\)04,49) |
gee Ont Hundieal aie "Tre Aa
we LBB Bie | BE ace
ron DAL $
WOORLDBY HOR7OLGB22 GI7LSH 24S Su
MODWLOW HOGTOMB220 LATKSa2L Soe |
#1408 10/18 $58.10 #1410 10/29 $104.79
Se 1412 1 meet oe See ee oS seize !
Four ok oka emg Pagnpany \ i Four Stacks Growing ompany i
“J | ee a gus |
— isigya tet {itl ComsoBon Ela — Aha §
= I Th hen cal Fry ae a x siti a) Pate Wise Olas ak fe DOLLARE
ay j ' — ley i
ron Lol” calito A 7 2 a : ron + dope -AB. Ui ef es ee ie f
’ Sees
WOO DLE be HE06 70 $60 2 22 “3 74582455" | SDONSKO" HOBVO R22 La7kSeaysse MM
#1411 10/30 $282.30 #1549 10/15 $49.75
four Stacks Brewing Company —— botsa6 : f Fi hacks B * 01557 i
SAEs H Ue beprety A é ' cur Stacks Brewing Company
eR wee pare aes i i Apoie Beech, UTD . oe oor) é 5
Bre Eleida Rul Seder Tue 5100 @ Elite Mild Ena 1S hoo
Vado Dihesect Maa bana } ae {have he a - sans 1
ss =.
wy 1SYTAI = Kove Stacks hb a ‘ frondcssiees AR ce a ree |
MODMSSte HOBTOMMAZ ET WE7USHZUSSe ; pea POOLSS7Y HODIOINB22t RATHER tySSH eae 3]
#1556 10/06 $100.80 #1557 10/07 $17.56
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 11 of 14

Te
jp) Bank
hos

~~ America’s Most Convenient Bank®

MONUMENT BREWING LLC
DIP CASE 19-10832 MFLT

 

 

 
 
    

q

1

3 i

kee pers = : - 7a
orchatekenelonck Teac Be oan |
ene

|

ies arn a oo
vOORSSBr HOB 20448 282437 (5a, isin |

  
 

 

 

 

 

 

#1558 10/05 $125.00

 

    

 

 

i BD pesteonnet ="
i macy Poona hee

Four Sineagnuno ae =
bon PAichanel Cay ™ 3 3 346-9 Seay
Le Wishes eet Se Sk ae AEST pOLLame

 

 

WOOISEOr HOB TOILGZ2t VA7LSB2LS se

#1560 10/07 $246.66

 

 

 

i oe .
Four Slacks meee Company
iinet

 

 

 

 

 

 

 

 

 

 

 

 

 

 

t
,
. ti, Mi sel | Se ed
'- sp |
i Pitter 4
won ed alert ga =
OO.S6 ar HDB IO ANE waza LaTesa augge ° ee aes 4
#1562 10/13 $372.42
r 001564
j Four Stacks Brawlog © Company i
! ponte Death, TUSI9TH 04 ecare__10/4 [Py 3
Beton 5 416.Geo
S ev, hy bs ORLARI }
= Ss
pos 4 <n aed
WOOL5Ske" HOR 7ORLG 2c LIT SARS Se |
#1564 10/13 $416.85
0 1S86 |
Four Stacks Brewing Company i
dpobe Daash, FL 399779593 CATE LOA xo 4A j
foto Mastin bt 13 GE “Hy a
i 4 teed shore Dyas ste Ying non can
tn Quate | SS |
t Sos
WOOLSBGW! GOG7ObLB? BE maruseausse

 

 

 

#1566 10/13 =

TATEMENT

OF ACCOUNT

 

 

Page: 11 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455
oo 001558 &
f Four Siscks Piening Corepeny 3!
ete Ben Fe oe /OL2 (2930 j i
8

 

=o

Bt an Lice Zl tcroel 1 8 Gee

TOmare
area a

ron ahh zo Box ea

eye

G) geo |

 

 

 

 

 

 

 

 

 

 

 

 

WOORSS9s" HOB70AGAeR: GAPLSH 24550" ee |
#1559 10/05 $400.00
Four sucha rnin Company 001861 A
Apoka Death. Fh 31972-3508 pat i Glacmy j
HE on Si .. Chasse a 1 3498, Vo «of
Kove lbaB A Migs Dilaes $ feesost ane, |
aerate = 40 Vile
ma ATESAD tow «BRE. ZOD |
. #OOUS6 de OB TO LLB Zen Garese eh See -.|
#1561 10/07 $409.62
i ' Four Stacks Brewing Company ore:
| ' on care JOA OA
| Bhs Casta “Ex Keving 13 3), ty
i aso} ees Sey DOLLARS
i
I

MOOSE" NOGTOLAC A LAILSH 2b S Gee

So ‘

:

 

 

 

 

 

   
 
 

  

 

 

 

 

 
   

#1563 10/20 $31.14
er ooises |
fates er em ‘ i
i Apate Beach, FLASTIZG8D8 pare as j
Bieter Jade, \WNensseu™ — *370.4e i
i
WOOLSES SOBTORMBZ2G K37LSH2uSSe
#1565 10/13 $270.89
i caer |
Four Suche Hrewiay! Company i
£ Apolg Ganeh, FL aaa 20 ATE (oa fe I
. 5 (ag et
4 =

| MODISE 2 NDB7OLLB ee VAPLSR2GS se |

 

 

 

10/13

$198.62
Case 8:19-bk-10832-CED Doc 159-1

‘Bank

America’s Most Convenient Bank®

Ul i)

i
j
|

tl

MONUMENT BREWING LLC

 

 

   

 

Filed 12/08/20 Page 12 of 14

STATEMENT OF ACCOUNT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

   

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

DIP CASE 19-10832 MFLT Page: 12 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455
Four Stacks Brewing Company oatseo i Four Sachs Bring Company . 001569 ‘
i sera beck resssa are UN far, j Agee Reman, FEST ete OZR {
I ; ater Snowe, (oli race 1 8.201, Age o
] Teas Waal har Wht oh ee = Lane j
| : ss a
= i ron DUAR KB ep j
t - _MOOASESY HOGIOLA 22 WAKER ENE GM - ve \ a POOISE9" HOBTOMMAZ 2; WA745H 2655" |
#1568 10/13 $1,466. a8 #1569 10/14 $301.62
Four Bhauhee Sawing Company ise f Four Stacke Orewing Company wine ;
f Apats Bowed, Faasra-asea oATE (0/13 /2adn j Apole Beech, FL SOIPIo7 DATE. Dis lan i
bE a SO See — 52> ¢
} | Thee \ arraveral = pentane }
i ete aS i
ai il PEA BOK ee Pe ett ~ i
| POOMS?2" GOB 7DELA222 KA7LSB2NSSe %
#1571 10/19 $141.12 #1572 10/16 $300.00
5 : Fr - : ootara’
-_ Four Backs Brewing Company ¥ Y «Mee | 2 18 ‘ Four siscks erga comrany ad |
ute Sm Igtefann ane omen fsyfsoo |
{hte Michal Coy 8 178 tem a Bils. D "7 526,%q 8
Srinibeen Claw a eee Vy pe Six Dine a Sha ‘ae
BB - ron SO WLR “AB. i
ee ____POO1S73" OE TOMO Ras La7tsa zusse ge ee : MOORS? HOEVOMLATZ LATLERZLSS —» ‘ete
#1573 TO/19 $17.56 #1574 10/21 $96.45
4 x “ gois7s & ° oats76 4
Four rd Brewing Company j : id / Four Stacks Brewing Company " : . ' i
ee i ails /b/a 3 Uz) 20. | i : __ On ore AGS 4
eit “1 8 404 ee Midweek Frey” 1 5 1,466,%%q0
wood) Case Ys ; essa
spunea ar |
! Ab. LMA pn Stet i
: Oot§ 750 OBTOALB EEE dstegnissé ; apt MODIS75" HOBTOMLORE WEPSBENSSe i
#1575 10/23 $150.00 #1576 10/26 $1,466. 55
3 Pe a ao —— = . oois7a I
, Four Sucka Brewing Company é . ee 001577 | Four Stacks Brawing Company Bee Were tt S S5 He ,
pointes tos a 8 : see Say it owre LA 2 5S RS —— E aaah

 

thes Mi fee leet eee
Meter Michoo! Fro a> j © 132.7%: 0
= Lt IN ap i ais

wee

KOOIST 7 HOR? : ;
_fOOas7 ie MOBIOLA EH La7LSB2uESe.

[ere
#1577 10/26 $122.72

 

 

 

 

 

 

 

 

   

1 E
.PODES 79" HOBTOLB ee: GATKSB aust

 

 

 

 

 

#1579

10/26 $150.62
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 13 of 14

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MONUMENT BREWING LLC

DIP CASE 19-10832 MFLT Page: 13 of 13
Statement Period: Oct 01 2020-Oct 31 2020
Cust Ref #: 4374582455-039-E-***
Primary Account #: 437-4582455

 

 

 

 

 
 
 

Four Stacks Brewing Company Sereel 4 : Four Stacks Brewing Company \ 001627 4
jn ae care _XYO/ 8050, i Ante bea e oxre_/o/5 (2s ‘
Rut Sruthes vw CA, ze 1$H3@ a feat Nis Rien wey s 8562 Ss a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

Sie Welbsedd TST sce Orllaus + GM —_——— DOLLAAS ‘71 | Gi thor he can mb fas 4 1%5 ——— oae
cate Ans anieatt .
ron GUNG DAR Re QO fron Oe, & me
__POONSBD" HOE TDbNB2 25 437458 au 5Se > | —_— moog ate HOE 7a Lba2 en haTRSAELSSe _ os te
A 580 10/28 $253.62 #1627 10/14 $8,562.95
|___ sony NSE re ooteze' |
‘T00a3abs2 u Four Stacks Brewing Company we 4
au wit ~ ica wed ‘i ootear we a oe cme /2ls fo : i
RETUAN REA ae : a x | Bee Alpe oe "at ve i 6 jue *—o
jot rurrtereat FUNDS ae : : wee i "One wel seh sana |
ag So! ean
. —— = — nermrenaine HOKE 2B" MOBTOULA ZY WATLSB ELSE tet ake |
@IB27 WDG7O MLB 22 LATGSH2455" OO00B56 255+ #1628 tO/14 ST 000 a
#1627 10/16 $8,562.95
see ee ee ee hee ne ST x = z =|
01629 001639
wee” saat [23] See on —Lol2she |
tee, Star Ciece “Frias » 374,24 a sees, Elwin Gren h 53 WY 5
Sack, 2 eee { | Fa Ik flly Bp a |
i Site Huth a
FOR. ky. — 7 we geeratngtind A FOR. Re o J =. Susser 7° i
WOOAG29! HOG TOLL ZZ WaPLSR eh Sse si HODGSON NORTOMLAADt LATLSAgLSSe i |
#1629 10/26 $74.29 #1630 10/26 $434.41
t fre Stasis Bink Copan . oorest 4 Four Stacks Brewing Company ~~ 01632 i
t een wn folesias i - sit oue_(o/ 23/2. i
Hee pda Wee ———i 5 247 = She Alfectin As 1+ . 13 S%a a
= Lele Be Sone thos =e Beane ] 1 at ce, i
eititre ‘bs j Hl ones a j
jt ee | ee
WOOLB3 MM" EDBPOMNA 22 4374SH2q 55s 8 | t SOOLEA2Y HOR WDARAZeD LATS ays Se

 

 

 

 

 

#1631 10/26 $247.60 #1632 10/27 $539.07
Case 8:19-bk-10832-CED Doc 159-1 Filed 12/08/20 Page 14 of 14
